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THE WEITZ LAW FIRM, P.A.


                                                                                        11/2/2021



November 1, 2021

VIA CM/ECF
Honorable Judge Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street - Courtroom 15D
New York, NY 10007

               Re:    Velasquez v. Antler Dispensary, Inc., et al.
                      Case 1:21-cv-07450-AT

Dear Judge Torres:

        The undersigned represents the Plaintiff in the above-captioned case matter. The Case
Management Plan and Joint Letter in this matter is currently due November 5, 2021. However,
Defendants have not yet appeared in this matter, having been served through the Secretary of State
[D.E. 10 and D.E. 11]. In order to allow the parties adequate time to engage in early settlement
discussions, while affording additional time for the Defendants to appear, a 30-day adjournment of the
Conference is hereby respectfully requested to a date most convenient to this Honorable Court.

       Thank you for your consideration of this first adjournment request.

                                             Sincerely,

                                             By: /S/ B. Bradley Weitz




GRANTED. The parties shall submit their joint letter and proposed case management plan by December 6,
2021. If Defendant has not served an answer by December 6, 2021, Plaintiff shall file a motion for default
judgment, in accordance with Attachment A of the Court's Individual Practices in Civil Cases.

SO ORDERED.

Dated: November 2, 2021
       New York, New York
